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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTRlCT OF FLOR|DA
FORT LAUDERDALE DlV|S|ON
CASE NO. 19-13519-JKO
CHAPTER 11
PINNACLE GROUP, LLC,

Debtor.
/

EMERGENCY MOT|ON FOR lNTERlM AND FlNAL ORDERS (l) AUTHORIZING
DEBTOR TO UT|L|ZE CASH COLLATERAL
AND (ll) SCHEDUL|NG FlNAL HEAR|NG
REASON FOR EX|GENCY
Debtor seeks immediate authority to use only that amount of
cash collateral as is necessary to avoid immediate and
irreparable harm to the estate pending a final hearing.

PlNNACLE GROUP, LLC,, by and through undersigned counsel, file this
Emergency l\/lotion for interim and Fina| Orders (i) Authorizing Debtor to Utilize Cash
Col|ateral and (ii) Scheduling Final Hearing (the “l\/lotion”) and states as follows:

1. The Debtor does not concede that any party has a perfected security
interest in cash collateral. However for purposes of this l\/lotion and the immediate
preliminary hearing, the Debtor Wil| presume that LSQ FUNDlNG GROUP L.C. (defined
beloW) has an interest in cash collateral and that said interest is first priority.

2. Debtor needs immediate authority to use the cash collateral to fund
Debtor's day-to-day operations and ultimately achieve a successful reorganization
Specifically, Debtor requires the use of cash collateral for the payment of operating
expenses, Which are reasonable and necessary business expenses that must be paid in

order to maintain and preserve its assets and to continue the operation of its business

Debtor currently has no present alternative borrowing source from Which it can secure

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additional funding to operate its business. ln sum, the failure to obtain authorization for
the use of the cash collateral Will be fatal to Debtor and disastrous to its creditors, both
secured and unsecured

3. LSQ FUND|NG GROUP L.C. may have an interest in the Debtor’s cash
collateral pursuant to a UCC-t recorded With the State of Florida. A copy of the foregoing
UCC-1 is attached hereto as Exhibit “A.” The amount being factored by LSQ FUND|NG
GROUP L.C. is approximately $750,954.00 in unpaid invoices With $623,169.34 in
outstanding funds1 The collateral that LSQ FUNDlNG GROUP L.C. is asserting an
interest in is all present and future assets of the Debtor. An approximate value of the
foregoing collateral is estimated at $750,000.00.2 Because of the emergency nature of
the filing, Debtor can only estimate the value at this time.

4. Although CROSSROADS FlNANClAL GROUP, LLC has UCC-1 recorded
With the State of Florida, that debt has been paid in full and Debtor asserts that
CRGSSROADS FlNANC|AL GROUF’, LLC no longer has a valid security interest in any of
Debtor’s assets. A copy of the UCC-1 is attached as Exhibit “”.B Debtor has served
CROSSROADS FlNANClAL GROUP, LLC With a copy of this l\/lotion and the Notice in an
abundance of caution.

5. RAPlD ADVANCE may have an interest in the Debtor’s cash collateral
pursuant to a UCC-t recorded With the State of Florida. A copy of the foregoing UCC-1 is
attached hereto as Exhibit “.”C However, because LSQ FUNDING GROUP L.C. may be

under-secured and/or the UCC-1 applies to an earlier loan Which Was paid prior to filing,

 

1 As per an account snapshot from l\/larch 19, 2019.

2 This estimate includes a Write down on the value of inventory and receivables plus prepayments to
suppliers Debtor is in the process of preparing more accurate information for its schedules, as Well as
continuing to investigate the liquidation value of its inventory.

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RAP|D ADVANCE is not harmed by the Debtor’s use of cash collateral and Debtor is
serving RAP|D ADVANCE With a copy of this l\/lotion and the Notice in an abundance of
caqun.

6. Debtor proposes to grant LSQ FUND|NG GROUP L.C. a replacement lien
under §361(2) of the Bankruptcy Code (i) to the extent LSQ FUND|NG GROUP L.C.’s
cash collateral is used by Debtor, and (ii) to the extent and With the same priority in
Debtor’s post-petition collateral, and proceeds thereof, that LSQ FUND|NG GROUP
L.C. holds in Debtor’s prepetition collateral.

7. ln order to have a chance at reorganizing, the Debtor needs to continue
operating. As such, it needs to be able to use the cash in its bank accounts and
generated from its account receivables

8. The Debtor has no alternative source of funding and must be permitted to
use its cash to operate its business

9. Un|ess this Court authorizes the use of cash collatera|, Debtor Will be unable
to meet its needs, and Will be unable to operate its business or have any chance of
effectuating a successful reorganization, Which Will likely force the Debtor to shut down.

10. Undersigned has spoken to counsel for LSQ FUNDING GROUP L.C. and
the parties are Working to resolve any issues

WHEREFORE, Debtor, PlNNACLE GROUP, LLC, requests this Court to enter
an Order Authorizing Use of Cash Co|lateral, and for such other and further relief as is

just.

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l HEREBY CERT|FY that a true copy of the foregoing has been furnished by
regular mail or electronically Where available to all appearances creditors and

interested parties the attached list this the 20th day of l\/larch, 2019.

l hereby certify that | am admitted to the Bar ofthe United States Distn'ct Court for the Southern District of Florida and l am in compliance with the
additional qualifications to practice in this Court set forth in l_ocal Rule 2090~1(A).

RAPPAPORT OSBORNE & RAPPAPORT, PLLC
Attorneys for Debtor in Possession

Squires Building, Suite 203

1300 North Federal Highway

Boca Raton, Florida 33432

Te|ephone: (561) 368-2200

BY; /s/
JORDAN L. RAPPAPORT, ESQ.
Florida Bar No. 108022

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Paradigm Gateway lnternational, inc and Subsidaries

Monthly proposed budget

Monthly

Sales 675,000
Sales Returns & A|lowances 8,438
Sales Discounts 1,350
Total Sales 665,213
Total Cost of Sales 455,625
Gross Profit 209,588
Other income 3,375
Total income 212,963
Expenses:

Wages and related taxes 67,120
Commissions 18,959
Rent expense 15,000
LSQ Funding * 9,500
insurance 3,500
Depreciation 1,000
Leased equipment 0
Data processing and software 2,500
Warehouse expenses 7,000
Advertising/promotion 9,000
Professional fees 0
Office expenses 100
Office supplies 1,000
Bad debt expense 1,500
Bank and credit card charges 2,025
Currency Translation 500
Gain or Loss on Asset Disposals 0
Telephone 1,000
Travel Costs 1,000
lV|ea|s and entertainment 500
l\/laintenance and repairs 1,000
Uti|ities 1,500
Emp|oyee training 0
Donations 0
Emp|oyee Benetits 13,424
Delivery expenses 33,750
Other taxes 2,000
l\/lisce||aneous and other expenses 2,000
Warranty expenses 0
Total SG&A Expenses 194,878
Net lncome (Loss) 18,085

* Estimated, based upon receivables

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UCC FlNANC!NG STATEMENT 2015 Mar 26 10135 AM
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A. NAME & FHONE OF CONTACT AT FILER (opfional)
Phone: (800) 331-3282 Fax: (818) 662-4141

B. E-MA|L CDNTACT AT Fll.ER (Uptiollal)
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C. SEND ACKNOWLEDGMENT Tol {Name and Addf€$$) 266066 _ LSQ FUND!NG

 

 

 

 

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name win not m in ins 1b, leave all ot item 1 blank. check here l:] and provide the individual Dobtor information in item 10 otthe Flnancing Statemont Addenclum [Form i.iCCtAd)
\a. ORGANlZATlON'S NAME

PiNNACLE GROUP, LLC

 

 

 

 

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2. DEBTOR'S NAME: valds onty B Debtnr name (2a or Zb) tuso exact tull nama; do not omit modify, orabbrev'\a!n any part ot the Debtor’s name); if any part nfthu individual Debst
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a. SECURED PARTY‘S NAME (cr NAME afAsslGNL-:E orAsslcnoR secuREo PARm emma my mg seem Party name rsa or al>)
3a ORGANEATION`S NAME

LSQ Funding Group, L.C.

 

 

 

 

 

 

 

OR Sb. \NDNIDUAL‘S SURNAME FIRST PER$ONAL NAME ADDiTiONAL NAME(S)'N|T|M(S) SUFF[X
3c. v\A|L|NG ADDRESS ClT¥ STATE ?DSTAL CODE COUNTRY
2500 Luden Way, Suite 100 Mailiand FL 32751 USA

4. COLLATERAL; This thanan statement covers ina foiiowing ocllateral:

 

ALL PRESENT AND FUTURE ASSETS OF DEBTOR.

NOT|CE - PURSUANT TC> AN AGREEMENT BETWEEN DEBTOR AND SECURED PARTY, DEBTOR HAS AGREED NOT TO FURTHER

ENCUMBER THE COLLATERAL DESCRiBED HERE|N. THE FURTHER ENCUMBER|NG OF Wl'§iCH MAY CONSTlTUTE THE TORT|OUS
lNTERFERENCE WITH SECURED PARTY'S RiGHTS BY SUCH ENCUMBRANCER.

|N THE EVENT THAT ANY ENT|TY lS GRANTED A SECUR|TY iN`l`EREST iN DEBTOR'S ACCOUNTS, CHATTEL PAPER OR GENERAL

EN'TANGIBLES CONTRARY TO THE ABOVE, THE SECURED F‘ARTY ASSERTS A CLAIM TO ANY PROCEEDS THEREOF RECElVED BY SUCH
NTITY.

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FLORIDA SECURED TRANSACTION REGIS'I`RY_

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B. E~MA|L CONTACT A`r F!`Lt-ZR (pp!icna\)_
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4. COLLATERAL: Thi's tlnarlcmg statement covers the following collateral:

Ail assets of the Debtor now existing and hereafter arising wherever located

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PINNACLE GROUP. LLC

 

 

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10 DEBT6R' 5 NAME: provide (10a or 10b) only______ one additional Debtor name or Dablor name that did not tit m nne 1b ovzb ofthe Flnancing Statement (Furrn UCC‘l) (use exact. full name;
do nol omlt, modify, or abbreviate any pal't ot the Debtor’s nama) and enter the mailing address m line 10a

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15. Name and address of a RECQRD OWNER of real estate described in item 16 15. Descrlp!ion of red esla‘l.e:
(il Deblor does not have a record interest):

 

 

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1. DEBTOR'S NAME: made only m neb:c>mame pa or m {u'_=o exam full nama; do not omit. mo¢n‘y. or materials any pan cr me Deh\or‘s ramey 31 any pan cr me memqu names
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Coral Springs FL 33065 USA

 

 

 

2.. DEBTOR‘S NAME: Provlds only me Debtor. name _(Za or 2b)l (u§e exam full name; do nut umil, modlly. or abbreviated anuy part el flra Debtur'snnmej ll any part of the lndrvsdual Debtor‘s
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ac. MA¢L:NG ADDRES$ PO BOX, 2576 ` cer STATE Posmz cope . couNTRY
uccsprep@cscinfo;com Spnnglleld !L §2_793 § USA

 

 

 

 

4. COLLATERAL Tth fxnanu'ng statement covers the following collaterat:
Florida Documentary Stamp Tax rs not required

A|| of the following property that rs now or hereafter at anytime used m connection with (without regard to the duration of
the period of such use), er how or at any time relates to or arises as a result of, the operation of the Debtor’s business

(i) all of the Debtor’s lnvent'ory, including all goods, merchandise raw materials, supplies and other tangible
personal p`repert'y, now owned or hereafter acquired, and all documents now and at any times covering or representing
any of said pr_operty;

(ii) all of Debtor‘s accoun‘ls,. accounts receivablel contract receivables, contract rights, notes, drafts\ acceptances,
instruments,» `chattel paper, payment lntangible`s'-and general intangibles, and all guarantees and suretyship agreements
relating thereto and all security for payment thereof, now and hereafter existing or arising; and

 

v5__ C_heck anl¥ cl applicable and claims god one bo)c Gbllaleml rs [___]_ hetd tn a Tmsl (see LlCCmd. item 17 end lnstrudlons} beiag administereql)){ a mcadams Personal Represematlve
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PlNNACLE GRQUP. Ll_C

 

 

 

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ADDlTlONAL NAME(S)IINI_T\`AL(S) ` ' ' SUFFIX

 

 

THE ABOVE SPACE IS FOR Fll,lNG OFFICE USE ONLV
10_ DEBTOR 5_ NAME;; Provrde (1_03 or 1 Db} only mg intentional Debtor name or Debtur name that did not f1t an line 1b or 2b cl the Fir\anc:'ng Statemant (Fann UCCt) (use exact, luB nsme;
do not om|l, mod tty. or éb_t)reviate any part of the Bebtors nama) and enter the mailing address le line 10a

10$ ORGANlZATIC)N‘S RAME

 

OR

 

10b. lNDl\/IDUM.'S SLJRNAME

 

lNDlVlDUAL'S FlR§T PERSONAt.. NAME

 

£NDI;VlDUAL'_S ADUET|ONAL NAME(S)!|N{TIAL>I$)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SUFF’lX
106. MA!UNG ADDRESS ' ClTY STATE POSTAL CODE COUNTRY
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118. ORGAN{ZAT\ON'S»NAME.
on 1 1b lNDl\{lDlJAL'S SURN.AME ` FIRST PERSONAL NAME ADDET}ONAL NAME{S)/INI`HAL(S) SUFFfX
11€1 MAlL¥NG ADMSS b 4 v ClTY STATE POSTAL CODE COUNTRY
12, mcmann elaine non lien lieutenant

(iii) all"_of ,Del)tor's equipment,` lnclu'dlngall furniturel fumishings, machinery, fixtures, storage shelves and other
goods used in the conduct of Debtor’s business, including. but not limited to, all motor vehicles and rolling stool<. now
owned _or hereafter‘acquired; together wlth`(a)` all increases parts, illtings, accessories, equipment special tools and
accessions now or hereafter attached thereto or used in connection therewith and any and all replacements of all or any
part thereon (b) any profile now or hereafter acquired from or through any oftine toregolng; (o) any products now or
hereafter acquired from er through any of the foregoing; (c) any products now or hereafter manufactured processed

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13. |'__`] This Frnnnclnc statement 15 m denied unr mrn] (o'r moment in me 14.71115 FlnAncmo summeer
REAL ESTATE RECCRDS lf. l ble `
( app m > m nevels timber to hew E covers as»extrar.icd collateral m is fund as efixture filing

15, blame and address al a REGORD OWNER of real estate described in llem 16 15. Description cl real estates
tit Debth does not have a record interesll:

 

 

17. MlSCELL/\NEOUS;

 

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ucc FlNANcmG STATEMENT ADDENDUM
Fou.ow insmuc'rlows

9 NAME OF Fl§ST DEBTOR: Same asl1ne€a or 1b m §qnendng Statement: n line 1b was left blank
because lndwldual Debtor name do not fit shoot here [:]
Qa, GRGANlZATION § NAME

PINNACLE GROUP, LLC

 

 

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oo. li~ll'.')lleuAL'S SURNAME

 

FiRS`_l' PERSONAL, NAME

 

ADD\Tlot~zAL~ nmets)nnrrmt(sl sol=l=)x

 

 

t THE ABOVE SPACE IS FUR F|LlNG OFF|CE BSE ONLY
DEBTOR`S NAME: _?rovide (1!_33 or 1011) only mgao<mlonal Debtor name or Debtor name that did nat nl in line 1b cr 2b of the Finandng Statemant (Form UCCi) (use exact full namn,
do mt omit, rnodlty or ebbrevia\o any part of the Debtors narne) and enter the mailing address m line too

ma onGAnlenoNS mile ` """

 

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11

10b, lNDlVlDU/:\L‘S SURNAME

lNDiV|DUAL'S FIRST PERSONA\. NAME

 

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10€. MA!L$NG AD§DRESS, Cl`|'\‘ STATE POSTAL GODE COUN'FRY

111 ADD|TlONAL SE':'CURED PARTY‘S NAME g |:} ASS|GNO§ §ECURED PART¥'S NAME‘ Provideonly guename(tta or 11b)
11a ORGANIZAT:ONS NAME

 

 

 

 

 

 

OR

 

llb. iNDlVlDUAL‘$ SUR¥#\ME FFRST FERSONAL NAME ADDIT!ONAL NAME(S)I[Ni`§'lAL(S) SUFF|X

 

"'1'1"¢'. nAluN'ojAoDRESS

 

Cl’iY STATE POS`FAL CODE COUNTRV

 

 

 

 

 

12 Aoomonm. sPAcE Forz neill 4 loonaml) `
encumbrance of the Covered Col|ateral shall constitute 3 breach by the Debtor of the terms of the contract between
Debtcr and Secured P‘arty. Any third party that further encumbers the Covered Collater~al` in whol e or in part purchases
the Covered Collateral in'wh`ole or in part,o'r otherwise takes receipt of any rights to the Covered Collateral in whole or in
pan and who has orshoul'd have knowledge of this Financlng Staternent or the restrictions in the contract between
Debtor end Secu_red. Party` shall be tortiously interfering with the contract between Debtor and Secured Party and shell be
liable to Secured Party*icr any damages suffered as a result of the interference

sun-__

13. ["_'] this nnle~lcmc srarenem* am be glen tror~m¢d]_(or.re¢orueq): in mé" 14§ res emmch S'T}itéménr;

RE_AL sure R&coRos ira scan
5 l i’P‘ el [:1 mm timber to be m [:l cows as-.e>nraeaowuateei 1:] is ned as moore nine

15 items ana address 01 11 REcoRD ownen m reel eaton ascribed 19 lien 16 ' 16, oésmpllon or real estate

tit Debxor does not héve a record -:`inlerest_)

 

17. M|SCELLANEOUS'.

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Whntn¢on. DF. \9608

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UCC FlNANCING STATEMENT ADDENDUM
mLLow msrr<uc“nons

9. NAME OF F!RST DEBTOR: same as line 13 m 1b on manan swiomem; 11 line mwas ran blank
because |ndividual Debior name did not f\L check here |:]
Qa, ORGANIZAT\ON‘$ NAME

PINNACLE GROUP, LLC

 

 

QR

 

911 !ND$VIDUAL’S SURNAME

 

F|RST PERSDNAL NAME

 

ADD|T|ONAL NAME(S)HN|TIAL(S) SUFF|X

 

 

THE ABOVE BF‘ACE is FCR FlLlNG O,FF|CE USE D?{LY
DEBTOR‘S NAME: Provme cruz or 100) briry'_o'_ng additional Démor name ar Debwr name max dm not ne in line 1b or 2b or ma F)n=mdng smremem (Form ucc1) (use exam run name
do ncr om'u` modn‘y, or abbrav\aze any pan of me Debtor’s name) and emoer mailing address m bna 10¢

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10.

OR ¢ov. molvrour~us suRNAME

INDN|DUAL‘S F|RS'T PERSONAL NAME

 

lNDNlDUAL'S ADD!T|ONAL NAME(S)HNIT|AL(S)

 

 

 

 

 

 

 

 

 

 

 

 

 

SUFF!X

'!Oc. MA|L%NG ADDRESS C|TY STATE POSTAL CODE CGL!NTRY
MM ____.....

11. m ADD:T¢QNAL SE<:uRED PARTY‘S NAME 91 [3 ASS!GNOR SECURED PARTY~s NAMF_: mm onlymmm ma y mr

118. ORGANIZAT|ON'S NAME

OR 11b. IND|V|DUAL`S SURNAME FlRST PERSONAL NAME ADOIT!ONA|_ NAME(S)/INITIAL[S) SUFF\Z
11<:. MA!L\NG maness cer " ' srATe Posw. anne " ’ " conway
`12.».001`?1`:`)~»\»_ s`)=A`cE Fon mem 4 (¢ona¢eras):

 

 

assembled or commingled from any of the foregoing and {d) any and all proceeds received shou§d any of the foregoing
be sold, exchanged, collected or otherwise disposed of.

Notice is hereby provided that pursuant to a contract between Debtor and Secured Party, Debtor has agreed that the
coliater'al described herein ("Covered Coiiatera|") will not, after the date of the Fl\ing of this UCC Financing Statement, be
sold, transferred or further encumbered while this UCC Financing Statement is in effect The saie, transfer or further

13. [:I ms nmncmcs srArEMENr is to ne mac nor mann (u¢ resumed in me 14. ms mecms sTA~reMENT:
REAL E TATE R nos if 1
5 500 { gopman e> [_:] covers maher to be nut m covers as»extractad wilmaral m is fried as a inure ming

“15. Name and address ot a RECORD GWNER or real estate described in hem 16 15. Desr.ripnon of real es:aia:

(if Deb!m does mt have n mm interest):

 

17. MlSCELLANEOUSZ

 

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“PROPOSED”
UN|TED STATES BANKRUPTCY COURT
SCUTHERN DlSTRlCT OF FLOR|DA
FORT LAUDERDALE DlVlSlON

CASE NO. 19-13519-JKO

CHAPTER 11
PINNACLE GROUP, LLC,

Debtor.
/

INTERIM ORDER GRANT|NG EMERGENCY MOTION
FOR ORDER AUTHOR|Z|NG USE BY DEBTOR OF CASH
COLLATERAL AND CONT|NU|NG HEAR|NG (ECF )

This matter came before the Court for hearing on in Ft. Lauderda|e, upon

the Debtor’s Emergency l\/|otion for OrderAuthorizing Use of Cash Co|latera| (ECF )

and the Court having heard argument of counse|, and for the reasons stated on the record,
it is:

ORDERED AND ADJUDGED that:

1. The l\/lotion is CONT|NUED to

 

2. The Debtor in Possession is authorized to use Cash Col|ateral for reasonable

day-to-day expenses Within a 10% variance on an interim basis to avoid irreparable harm

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to the Debtor.

4. Pursuant to this Court’s guidelines on cash collateral motions, any adequate
protection provided to creditors are subject and subordinate to fees due to theCclerk of the
Court or the United States Trustee pursuant to 28 U.S.C. §1930.

5. LSQ FUNDlNG GROUP L.C. shall have7 nunc pro tunc as of the petition
date, an administrative expense claim pursuant to §§507(3)(2) and 503(b) of the
Banl<ruptcy Code for the diminution in the “Cash Collateral” resulting by and through
Debtor’s use thereof. However, Debtor is not Waiving any rights to object to the amount of
such claim should one be asserted, or to the value of the collateral on the date of filing.

6. RAP|D ADVANCE is not Waiving any rights as to its alleged interest in any
Cash Collateral herein but in the interest of preserving the bankruptcy estate and to assist
the Debtor in its day-to~ day operations, is agreeable to the Debtor’s use of Cash Collateral
on an interim basis.

5. To adequately protect the secured creditor in connection With the use by the
Debtor of Cash Collateral and any other property upon Which security interests and liens
have been previously granted by the Debtor to the secured creditors, the Court hereby
confirms the grant, assignment and pledge by the Debtorto the secured creditor of a post-
petition security interest and lien (of the same validity, extent and priority as the secured
creditor’s pre-petition security interests) in the secured creditor’s pre-petition collateral in
and to (a) all proceeds from the disposition of any of the Cash Collateral, and (b) any and
all of its goods, property, assets and interests in property in Which the secured creditor held
a lien or security interest priorto the petition date, Whether now existing and/or owned and

hereafter arising and/or acquired and Wherever located by the Debtor, and proceeds

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thereof. The security interests and liens granted in the post-petition collateral hereby shall
be valid, perfected and enforceable security interests and liens on the collateral Without
further filing or recording of any document or instrument or any other actions. Nothing in
this Order shall be construed as an improvement of the secured creditor’s security or
security interest as of the date of the filing of the petition. The replacement lien shall not
apply to any funds recovered by the Estate pursuant to avoidance actions arising under

§§542 through 550 of the Bankruptcy Code.

###
Submitted by:

Jordan L. Rappaport, Esquire

RAPPAPORT OSBORNE & RAPPAPORT, PLLC
Attorneys for Debtor

1300 N. Federal Highway, Suite 203

Boca Raton, FL 33432

Tel: 561-368-2200

Facsimile: 561-338-0350

Jordan L. Rappaport, Esq. is directed to serve a copy of this order to all interested
parties and file a certificate of service.

CaS€ 19-13519-.]KO DOC 8 Filed 03/20/19

SERV|CE LlST:

LSQ FUND|NG GROUP L.C.

2600 Lucien Way, Suite 100

l\/laitland, FL 32751

Barbara Sinsley, Esquire - bsinsley@lsg.com
KFoWler fole .com

BShelle fole .com

CROSSROADS FlNANClAL GROUP, LLC
200 S. Co|lege Street, Suite 1400
Charlotte, NC 28202

RAPlD ADVANCE
4500 East West Highway, 6th Floor
Bethesda, l\/lD 20814

Anthony Giuliano, Esquire - afq@prvormandelup.com

 

Attached l\/latrix

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Label Matrix for local noticing
113C-0

Case 19-13519-JKO

Southern District of Florida
Fort Lauderdale

Wed Mar 20 10:46:06 EDT 2019

AAA Cooper Transportation
POB 935003
ATLANTA, GA 31193-5003

American Express
POB 53852
Fheonix, AZ 85072-3852

Bad Ass Battery
3417 Newgate St
Midlothian, TX 76065-8719

Coral Springs International
12175 NW 39th
Coral Springs, Florida 33065-2518

Dependable Packaging
5255 NW 159th St
Miami Gardens, FL 33014-6217

Flexential
POB 530619
Atlanta, GA 30353-0619

Fremont Toyota
5851 Cushing Pkwy
Fremont, CA 94538-3291

Internal Revenue Service
Central Insolvency Operation
POB 7346

Philadelphia, PA 19101-7346

LSQ Funding Group, LC
2600 Lucien Way, #100
Maitland, FL 32751-7064

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Pinnacle Group, LLC
5205 NW 108 Avenue
Sunrise, FL 33351-8044

AT and T
POB 105262
Atlanta, GA 30348-5262

Atlantic Import and Export Corp
220~B Meister Ave
Branchburg, NJ 08876-6045

Bottom Line Parts
7164 NW 66th Ter
Parkland, FL 33067-4737

Crossroads Financial Group, LLC
200 S College St, #1400
Charlotte, NC 28202-2098

Diligent Delivery Systems
POB 4168
Houston, TX 77210~4168

Franchise Tax Board
POB 942857
Sacramento, CA 94257-2021

Genuine Parts Warehouse
32920 Alvarado-Niles Rd #200
Union City, CA 94587-8102

James Campbell Company, LLC
POB 83164
Chicago, IL 60691-0164

Landsberg - Dallas
POB 731575
Dallas, TX 75373-1575

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A and M Tape and Packaging
5201 Nob Hill Rd.
Sunrise, FL 33351-4713

Alltrans Freight and Logistics LLC
POB 16408
Dubai, UAE

Atlantic Rack
5255 NW 163rd St
Miami Gardens, FL 33014-6225

Ceva International Inc - MIA
POB 660367
Carol Stream, IL 60132-2309

Dallas Container Corp.
8330 Endicott Ln
Dallas, TX 75227-2305

FPL - Sunrise
FPL General Mail Facility
Miami, FL 33188-0001

Fremont Automobile Dealership, LLC
dba Fremont Toyota

c/o Berliner Cohen, LLP

10 Almaden Blvd. llth FL

San Jose, CA 95113-2226

GlobalTranz Enterprises, Inc
POB 203285
Dallas, TX 75320-3285

LANDSTAR RANGER
POB 784293
Philadelphia, PA 19178-4293

Lilly and Associates Int'l
11440 NW 122nd St
Medley, FL 33178-3260

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Maersk Line
9300 Arrowpoint Blvd
Charlotte, NC 28273-8136

Peopleready
1015 'A' St
Tacoma, WA 98402-5122

RR Donnelley Logistics Services Worldwid
POB 932721
Cleveland, 0H 44193-0015

Reynolds and Reynolds Company
POB 182206
COLUMBUS, OH 43218-2206

Ship Transportal
575 Davidson Gateway
Davidson, NC 28036-7035

South Florida Container Terminal
9300 Arrowpoint Blvd.
Charlotte, North Carolina 28273-8136

Total Quality Logistics
POB 634558
Cincinnati, OH 45263-4558

Uber Freight
POB 74007178
Chicago, IL 92580-6944

End of Label Matrix

Mailable recipients 53
Bypassed recipients 0
Total 53

0ffice of the US Trustee
51 S.W. lst Ave.

Suite 1204

Miami, FL 33130-1614

R and L Carriers
POB 10020
Port William, OE 45164-2000

Rayna Capital
One Reynolds Way
Ketterings, OH 45430-1586

SAIA
POB 730532
Dallas, TX 75373~0532

Shoppas Material Handling
15217 Grand River Rd
Ft. Worth, TX 76155-2731

Stride Staffing
POB 832920
Richardson, TX 75083-2920

U.S. Small Business Administration
SBA Treasury Collection

Little Rock Commercial Loan Svcg Ctr
2120 Riverfront Dr #100

Little Rock, AR 72202-1794

XPO Logistics Freight, Inc.
29559 Network Pl
Chicago, IL 60673-1559

Page 18 of 18

PREMIER WEST, LLC
12490 MAGNOLIA AVE., SUITE G
RIVERSIDE, CA 92503-4719

REYNA CA?ITAL CORPORATION
21175 Network FL
cHICAGo, IL 606')3-1211

Republic Services 794
POB 78829
Phoenix, AZ 85062-8829

SalSon
888 Doremus Ave
Newark, NJ 07114-3026

Small Business Administration
POB 740192
Atlanta, GA 30374~0192

Total Pallet Solutions, LLC
POB 12446
Fort Worth, TX 76110-8446

US Customs and Border Protection
POB 53007
Atlanta, GA 30355

Jordan L Rappaport Esq
1300 N Federal Hwy #203
Boca Raton, FL 33432-2848

